Case 2:04-cv-02698-BBD-dkv Document 16 Filed 05/12/05 Page 1 of 3 Page|D 32

UNITED STA TES DISTRICT COURT F”':U """;`*' 13 am
WESTERN DISTRICT OF TENNESSEE 95 ifi`f f¢_ p;.; g; cg
WESTERN DIVISION ` `“

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CHRISTIAN NOFFSINGER JUDGMENT IN A CIVIL CASE
v.
MOTEL 6 OPERATING L.P., CASE NO: 04-2698-D

MOTEL G-MEMPHIS, TN #4158
and ECOLA.'B, INC.

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order On Voluntary Dismissal Without Prejudice entered on April 28,
2005, this cause is hereby dismissed.

 

 

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Date Clerk of Court

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(By v epj!ty Clerk.//

Thls document entered on the docket sheet in conY|iance
with Rule 58 and/or 79(a) FRCP on ` ” " 'J

 

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Case 2:04-cv-02698-BBD-dkv Document 16 Filed 05/12/05 Page 3 of 3 Page|D 34

Honorable Bernice Donald
US DISTRICT COURT

